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UNITED sTATEs DISTRICT CoURT 1""§'~»¥“?1""
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Western Division 05 JUH 23 AH 81 27
UNITED sTATEs oF AMERICA “"` " ' ` "*"“l `iii’@`l-‘O

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t W.D. €;=1~° TN. MEMPHIS
_vs_ Case No. 2:05cr20212-2Ma

GLENN JONES

 

ORDER OF DETENT|ON PENDING TR|AL
FlNDlNGS
In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the

safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

** Arraignment Set for Wednesday July 6, 2005 at 10:00am in CIR #M-3.
DlRECT|ONS REGARDING DETENT|ON

GLENN JONES is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or

Dare: June 23, 2005 é,- /AMM-f aj

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE J`UDGE

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Honorable Sarnuel Mays
US DISTRICT COURT

